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Fn.eo er %¢_, D.c.
IN THE UNITED sTATEs DIsTRICT CoURT
FoR THE WESTERN DISTRICT oF TENNESSEE 05 AUG _3 m H: 29
WESTERN DIVIsloN
cum u. aaa count
UNITED sTATEs oF AMERICA W)D 05 m sarah
v. CR No. 02-20165-1)

ALVIN IRWIN MOSS, et al.,

Defendants.

 

ORDER ON MOTION OF UNITED STATES
TO QUASH SUBPOENAS

 

The Motion Of The United States To Quash Subpoenas Was heard by the Court on July
21, 2005. Based on the memoranda filed by the parties, the subpoenas that have been served on
John Asai, Joe Mann, III, Lee Stewart and Pamela Jane Vanderberg, and the arguments of
counsel, the Court finds that the Governrnent has not shown sufficient legal cause to quash the
subpoenas that have been served. Since John Asai works in offices in Memphis, Tennessee, he
shall appear when called to testify on July 21 or 22, 2005 or the next date set for hearing on
Defendants' motions Since Joe Mann, III works in the Memphis office of` the FBI but is
currently on annual leave, he shall appear and testify on the next date set for hearing on
Defendants' motions Since Lee Stewart Works out of offices in Jackson, Tennessee, he Shall
appear and testify on July 22, 2005.

The Court finds that Defendants, in light of the family illness relating to the father of
Pamela Jane Vanderberg, have agreed that Ms. Vanderberg need not appear on July 21 or 22,
2005 pursuant to the subpoena but, based on the agreement of Def`endants, Ms. Vanderberg shall

appear at the next date set for hearing on Defendants' motions.

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For the foregoing reasons the Motion of the United States To Quash Subpoenas is denied

except with regard to the modifications of the dates set out herein.

rr ls so oRDERED this the £/./Lday of August, 2005.

QY/M

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This notice confirms a copy of` the document docketed as number 582 in
case 2:02-CR-20165 Was distributed by f`aX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

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